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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-21724
                                                BLOOM/McAliley
        Plaintiff,

  v.

  CARNIVAL CORPORATION,

        Defendant.
  _________________________________________/
  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-23588
                                                BLOOM/Louis
        Plaintiff,

  v.

  MSC CRUISES SA,
  MSC CRUISES SA CO, and
  MSC CRUISES (USA) INC.,

        Defendants.
  _________________________________________/
  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-23590
                                                BLOOM/Louis
        Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES, LTD.,

        Defendant.
  _________________________________________/
  HAVANA DOCKS CORPORATION,                     Case No. 19-cv-23591
                                                BLOOM/Louis
        Plaintiff,

  v.

  NORWEGIAN CRUISE LINE HOLDINGS LTD.,

        Defendant.
  _________________________________________/

                     DEFENDANT CARNIVAL CORPORATION’S
                             NOTICE OF APPEAL
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         Notice is hereby given that Defendant, Carnival Corporation, in the above-captioned case,

  hereby appeals to the United States Court of Appeals for the Eleventh Circuit from the Final

  Judgment entered in this action on December 30, 2022, [Carnival, No. 19-cv-21724, ECF No.

  544], and from all orders preceding it, including the Order on Plaintiff’s Motion for Entry of Final

  Judgment [Norwegian, ECF No. 452] filed in Havana Docks Corp. v. Norwegian Cruise Line

  Holdings, Ltd., No. 1:19-cv-23591-BB.

  Dated: January 25, 2023                           Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 25, 2023, the foregoing was filed with the Clerk of

  Court using CM/ECF, which will serve a Notice of Electronic Filing on all counsel of record.



                                              By:    /s/ Stuart H. Singer
                                                     Stuart H. Singer




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